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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT TACoMA
UNITED sTATEs oF AMERICA, No. CR18-5411-BHS
Plaimiff’ PLEA AGREEMENT
V.
ERIC CHRISTENSEN,
Defendant.

 

 

The United States of America, by and through Annette L. Hayes, United States
Attorney for the Western District of Washington, and Stephen Hobbs, Assistant United
States Attomey for said District, and the Defendant, Eric Christensen, and his attorney,
Phil Brennan, enter into the following Agreement, pursuant to Federal Rule of Criminal
Procedure ll(c):

l. The Charges. Defendant, having been advised of the right to have this
matter tried before a jury, agrees to Waive that right and enters his plea of guilty to the
following charges contained in the Indictment:

Count l: Possession of Methamphetcimine with Intent to Dz`stribute, in violation
of Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(B).

Count 2: Possession of Heroin with Intent to Distribute, in violation of Title 21,

United States Code, Sections 84l(a)(l) and 84l(b)(l)(B).

United States v. Christensen, CR18-54l l-BHS
Plea Agreement - l

UNl'l`ED STATES ATTORNEY
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By entering these pleas of guilty, Defendant hereby waives all objections to the

form of the charging document Defendant further understands that before entering pleas

of guilty, he will be placed under oath. Any statement given by Defendant under oath

may be used by the United States in a prosecution for perjury or false statement.

2. Elements' of the Offenses. The elements of the charged offenses are as

follows: C
Possesszon of Methamphetamme with lntent to Dzstrtbute. fn MM_'L'L`~ _ Sly
a. The Defendant knowingly and intentionally possessed-heroin, a 00
controlled substance; w 5 C ~
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b. The Defendant intended to distribute heroin to others; and 5(1]/
c. The offense involved 50 grams or more of a mixture or substance ve
containing a detectable amount of methamphetamine, its salts, isomers,
or salts of its isomers. 5 a
Possession of Heroin with Intent to Distribute: y ll
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a. The Defendant knowingly and intentionally possessed eoearne, a (’/S
controlled substance; d C.
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b. The Defendant intended to distribute cocaine to others; and 5 V/
c. The offense involved 100 hundred grams or more of a mixture or ('/B

substance containing a detectable amount of heroin.

3. Penalties. Defendant understands that the Statutory penalties for the crimes

to which he is pleading guilty are as follows:

Possession of Methamphetamine with Intent to Dz`stribute.' Imprisonment for upto

forty (40) years, with a mandatory minimum term of five (5) years), a fine of up to five

million dollars ($5,000,000),l a period of supervision following release from prison of at

least four (4) years, and a special assessment of one hundred dollars ($lOO).

Possession ofHeroin with Intent to Distribute.‘ Imprisonment for up to forty (40)

years, with a mandatory minimum term of five (5) years), a fine of up to five million

dollars ($5,000,000), a period of supervision following release from prison of at least four

(4) years, and a special assessment of one hundred dollars ($100)._

United States v. Chrl`stensen, CR18-54l l-BHS UNITED STATES ATTORNEY

Plea Agreement - 2

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Defendant understands that supervised release is a period of time following
imprisonment during which he will be subject to certain restrictions and requirements
Defendant further understands that if supervised release is imposed and he violates one or
more of its conditions, he could be returned to prison for all or part of the term of
supervised release that was originally imposed. This could result in Defendant’s serving
a total term of imprisonment greater than the statutory maximum stated above.

Defendant understands that in addition to any term of imprisonment or fine
imposed, the Court may order him to pay restitution to any victim of the offense, as
required by law.

Defendant agrees that any monetary penalty the Court imposes, including the
special assessment, fine, costs, or restitution, is due and payable immediately and further
agrees to submit a completed Financial Statement of Debtor form as requested by the
United States Attorney’s Office.

4. Drug Offenses. Defendant understands that by pleading guilty to a felony
drug offense, Defendant will become ineligible for certain food stamp and Social
Security benefits under Title 21, United States Code, Section 862a.

5. Rights Waived by Pleading Guilty. Defendant understands that by
pleading guilty, he knowingly and voluntarily waives the following rights:

a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to a speedy and public trial before a jury of his peers;

.c. The right to the effective assistance of counsel at trial, including, if
Defendant could not afford an attorney, the right to have the Court
appoint one for him;

d. The right to be presumed innocent until guilt has been established ,
beyond a reasonable doubt at trial;

e. The right to confront and cross-examine witnesses against Defendant
at trial;

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f. The right to compel or subpoena witnesses to appear on his behalf at
trial;

g. The right to testify or to remain silent at trial, at which trial such
silence could not be used against Defendant; and

h. The right to appeal a finding of guilt or any pretrial rulings.

6. United States Sentencing Guidelines. Defendant understands and
acknowledges that, at sentencing, the Court must consider the sentencing range
calculated under the United States Sentencing Guidelines, together with the other factors
set forth in Title 18, United States Code, Section 3553(a), including: (l) the nature and
circumstances of the offenses; (2) the history and characteristics of the defendant; (3) the
need for the sentence to reflect the seriousness of the offenses, to promote respect for the
law, and to provide just punishment for the offenses; (4) the need for the sentence to
afford adequate deterrence to criminal conduct; (5) the need for the sentence to protect
the public from further crimes of the defendant; (6) the need to provide the defendant
with educational and vocational training, medical care, or other correctional treatment in
the most effective manner; (7) the kinds of sentences available; (8) the need to provide
restitution to victims; and (9) the need to avoid unwarranted sentence disparity among
defendants involved in similar conduct who have similar records. Accordingly,
Defendant understands and acknowledges that:

a. The Court will determine his applicable Sentencing Guidelines
range at the time of sentencing;

b. After consideration of the Sentencing Guidelines and the factors in
18 U.S.C. 3553(a), the Court may impose any sentence authorized
by law, up to the maximum term authorized by law;

c. The Court is not bound by any recommendation regarding the
sentence to be imposed, or by any calculation~or estimation of the '
Sentencing Guidelines range offered by the parties or the United
States Probation Department, or by any stipulations or agreements
between the parties in this Plea Agreement; and

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d. Defendant may not withdraw a guilty plea solely because of the
sentence imposed by the Court.

7. Ultimate Sentence. Defendant acknowledges that no one has promised or
guaranteed what sentence the Court will impose.

8. Statement of Facts. Defendant admits he is guilty of the charged offenses.
The parties agree on the following facts:

a. Prior to the events described below, the Defendant, Eric Christensen,

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had been convicted in the Western District of Washington of
Conspiracy to Manufacture Methamphetamine under cause number
CRO4-354-JCC). On July 15, 2005, the Defendant was sentenced to
100 months and five (5) years of supervised release. The Defendant
commenced supervision July 8, 2011. In October of 2012, the

4 Defendant absconded from supervision. At the time of the events

below, there was an outstanding federal warrant for the Defendant’s
arrest.

. On or about April 12, 2018, In Pierce County, Washington, the

Defendant possessed 352 grams of methamphetamine, a controlled
substance The Defendant admits he possessed the
methamphetamine with the intent to distribute it to others. The
Defendant admits he possessed 50 grams or more of a mixture or
substance containing a detectable amount of methamphetamine, its
salts, isomers, or salts of its isomers '

. On or about April 12, 2018,`In Pierce County, Washington, the

Defendant possessed 215 grams of heroin, a controlled substance.
The Defendant admits he possessed the heroin with the intent to
distribute it to others. The Defendant admits he possessed 100
hundred grams or more of a mixture or substance containing a
detectable amount of heroin

. The parties agree that the Court may consider additional facts

contained in the Presentence Report (subj ect to standard objections
by the parties) and/or that may be presented by the United States or
Defendant at the time of sentencing, and that the factual statement
contained herein is not intended to limit the facts that the parties may
present to the Court at the time of sentencing

 

United States v. Christensen, CR18-5411-BHS UNITED STA'IES ATTORNEY
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9. Non-Prosecution of Additional Offenses. As part of this Plea Agreement,
the United States Attorney’s Office for the Western District of Washington agrees not to
prosecute Defendant for any additional offenses known to it as of the time of this
Agreement that are based upon evidence in its possession at this time, and that arise out
of the conduct giving rise to this investigation ln this regard, Defendant recognizes the
United States has agreed not to prosecute all of the criminal charges the evidence
establishes were committed by Defendant solely because of the promises made by
Defendant in this Agreement Defendant agrees, however, that for purposes of preparing
the Presentence Report, the United States Attorney’s Office will provide the United
States Probation Office with evidence of all conduct committed by Defendant

Defendant agrees that any charges to be dismissed before or at the time of
sentencing'were substantially justified in light of the evidence available to the United
States, were not vexatious, frivolous or taken in bad faith, and do not provide a basis for
any future claims under the “Hyde Amendment,” Pub.L.No. 105-119 (1997).

10. Acceptance of Responsibility. The United States acknowledges that if the
Defendant qualifies for an acceptance of responsibility adjustment pursuant to USSG §
3El.1(a), his total offense level should be decreased by three (3) levels because he has
assisted the United States by timely notifying the authorities of Defendant’s intention to
plead guilty, thereby permitting the United States to avoid preparing for trial and
permitting the Court to allocate its resources efficiently.

11. Stipulation Regarding Recommendation for Sentence. The parties to

agree to recommend a sentence as follows:

The parties will jointly recommend a sentence of 60 months (5 years).

The parties will jointly recommend that the Court impose a four (4) year term of
supervised release.

The Defendant understands that the Court may not impose a sentence below the
60-month mandatory minimum term and may impose any sentence up to the statutory

maximum.

United States v. Christensen, CR18-54l l-BHS UNITED STATES ATTORN§§O
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12. Resolution of Pending Supervised Release Violations (CR04-354-BHS).
As part of this plea agreement, the Defendant agrees to admit to the supervised release
violations l to 5 and 8 currently pending under cause number CRO4-354-BHS, with all
remaining violations to be dismissed

The parties agree to jointly request that the Court impose a sentence of 21 months
as a sanction for the supervised release violations under cause number CRO4-354-BHS
and that this time run concurrently with the sentence imposed under CR18-54l l-BHS.

The parties agree to recommend that supervision be terminated under cause
number CR04-354-BHS.

13. Breach, Waiver, and Post-Plea Conduct. Defendant agrees that if
Defendant breaches this Plea Agreement, the United States may withdraw from this Plea
Agreement and Defendant may be prosecuted for all offenses for which the.United States
has evidence. Defendant agrees not to oppose any steps taken by the United States to
nullify this Plea Agreement, including the filing of a motion to withdraw from the Plea
Agreement Defendant also agrees that if Defendant is in breach of this Plea Agreement,
Defendant has waived any objection to the re-institution of any charges in the Indictment
that were previously dismissed or any additional charges that had not been prosecuted.

Defendant further understands that if, after the date of this Agreement, Defendant
should engage in illegal conduct, or conduct that is in violation of his conditions of
confinement (examples of which include, but are not limited to: obstruction of justice,
failure to appear for a court proceeding, criminal conduct while pending sentencing, and
false statements to law enforcement agents, the Pretrial Services Officer, Probation
foicer, or Court), the United States is free under this Agreement to file additional
charges against Defendant or to seek a sentence that takes such conduct into
consideration by requesting the Court to apply additional adjustments or enhancements in
its Sentencing Guidelines calculations in order to increase the applicable advisory
Guidelines range, and/or by Seeking an upward departure or variance from the calculated

advisory Guidelines range. Under these c`ircumstances, the United States is free to seek

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such adjustments, enhancements, departures, and/or variances even if otherwise
precluded by the terms of the plea agreement

14. Waiver of Appellate Rights and Rights to Collateral Attacks.
Defendant acknowledges that by entering the guilty plea(s) required by this plea
agreement, Defendant waives all rights to appeal from his/her conviction and any pretrial
rulings of the court. Defendant further agrees that, provided the court imposes a custodial
sentence that is within or below the Sentencing Guidelines range (or the statutory
mandatory minimum, if greater than the Guidelines range) as determined by the court at
the time of sentencing, Defendant waives to the full extent of the law:

a. Any right conferred by Title 18, United States Code, Section 3742,
to challenge, on direct appeal, the sentence imposed by the court,
including any fine, restitution order, probation or supervised release
conditions, or forfeiture order (if applicable); and

b. Any right to bring a motion under 28 U.S.C. § 2255 to vacate, set
aside, or correct sentence, under 28 U.S.C. § 2241 to challenge the
conviction or sentence, or any other collateral attack against the
conviction and sentence, except as it relates to the ineffective
assistance of counsel in the negotiation of this plea agreement, or the
entry of the guilty plea(s) required by this agreement; and

If Defendant breaches this Plea Agreement at any time by appealing or collaterally
attacking (except as to effectiveness of legal representation) the conviction or sentence in
any way, the United States may prosecute Defendant for any counts, including those with
mandatory minimum sentences, that were dismissed or not charged pursuant to this Plea
Agreement.

15. Forfeiture of Contraband. Defendant also agrees and consents to the
administrative forfeiture, official use, and/or destruction of any firearms or contraband
seized by any law enforcement agency from the possession of Defendant, or that were in
the direct or indirect control of Defendant.

16. Statute of Limitations. In the event this Agreement is not accepted by the

Court for any reason, or Defendant has breached any of the terms of this Plea Agreement,

United States v. Christensen, CR18-541 l-BHS UNITED STATES ATTORNEY
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the statute of limitations shall be deemed to have been tolled from the date of the Plea
Agreement to: (l) thirty (30) days following the date of non-acceptance of the Plea
Agreement by the Court; or (2) thirty (30) days following the date on which a breach of
the Plea Agreement by Defendant is discovered by the United States Attorney’s Office.

17. Voluntar'iness of Plea. Defendant agrees that Defendant has entered into
this Plea Agreement freely and Voluntarily and that no threats or promises, other than the
promises contained in this Plea Agreement, were made to induce Defendant to enter this
plea of guilty.

18. Completeness of Agreement. The United States and Defendant
acknowledge that these terms constitute the entire Plea Agreement between the parties.
This Agreement binds only the United States Attorney’s Office for the Western District
of Washington. lt does not bind any other United States Attorney’s Office or any other

office or agency of the United States, or any state or local prosecutor.

DATED this 17 1}" day of December 2018.

 
 

 

ERIC CHRISTENSEN \_
Defendant

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PHil' BRENNAN
Attorney for Defendant

 

      
     

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Assistant United States Attorney

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